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AO 442 (Rev.01/09) Arrest Warrant

RECEIVED
UNITED STATES DISTRICT COURT ~~
vor the 2023 JUL 28 PM 3:03
District of Montana US MARSHA LS SERVICE
MISSOULA, MT

United States of America

v. )
Jeremiah Lawrence Lescantz Case No. MJ 23-6 § -M-KLD
)
. oo )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) _ Jeremiah Lawrence Lescantz
who is accused of an offense or violation based on the following document filed with the court:

©} Indictment © Superseding Indictment Ol Information 0 Superseding Information A Complaint
© Probation Violation Petition ©) Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:
18 U.S.C. 924(c) Possession of a Firearm in Furtherance of a Drug Trafficking Crime

21 U.S.C. 846 Conspiracy to Possess with the Intent to Distribute Controlled Substances

21 U.S.C. 841(a)(1) Possession with the Intent to Distribute Controlled Substances

Date: 07/28/2023

Issuing officer's signature

City and state: Missoula, Montana Kathleen L. DeSoto, U.S. Magistrate Judge

Printed name and title

Return

This warrant was received on (date) “7-29 -2 cj , and the person was arrested on (date) 7-28 ov
at (city and state) jo: SSolvg : hy

Date: 07/28/2023 a

Arresting officer's signature

Andrew Allard, DEA Task Force Officer

Printed name and title

